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AO 442 (Rev. 11111) Arrest Warrant



                                              UNITED STATES DISTRICT COURT
                                                                             for the

                                                                 District of Columbia

                        United States of America
                                    v.                                         )       Case: 1 :23~mJ-00061
                                                                               )
                         Bradley Scott Nelson
                                                                               )       Assigned To : Faruqui, Zia M.
                                                                               )       Assign. Date: 3l20/2o.23
                                                                               )
                                                                               )
                                                                                       Description: Complaint WI Arrest Warrant
                                 Defendant


                                                              ARREST WARRANT
To:          Any authorized law enforcement officer


             YOU ARE COMMANDED                    to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)                                                        Bradley Scott Nelson
who is accused of an offense or violation based on the following document filed with the court:

o     Indictment             o     Superseding Indictment            o   Information       o   Superseding Information              N Complaint
o     Probation Violation Petition                o   Supervised Release Violation Petition          o Violation     Notice         0 Order of the Court

This offense is briefly described as follows:

 18 U.S.C.        § 1752(a)(1)- Entering and Remaining in a Restricted Building or Grounds;
 18 U.S.C.        § 1752(a)(2)- Disorderly and Disruptive Conduct in a Restricted Building or Grounds;
 40 U.S.c.        § 5104(e)(2)(D)- Disorderly Conduct in a Capitol Building;
 40 U.S.C.        § 5104(e)(2)(G)- Parading, Demonstrating, or Picketing in a Capitol Building.

                                                                                                                      Zia M. Faruqui
                                                                                                                      2023.03.20 12:25:58 -04'00'
Date: _~O=3~/2=O~/2=O=23~_
                                                                                                      Issuing officer's signature


City and state:                       Washin      on D.C.                                   Zia M. Faruqui, U.S. Magistrate Judge
                                                                                                        Printed name and title


                                                                             Return

            This warrant was received on          (date)   ::3/"1,0/z3             ,and the person was arrested on      (date)   9(z.z..(Z3
at   (city and state)   {.AS ~~              ~I
                                                      Nv:        '       .

Date:    .3/Zz/1...:3
